                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                            )
                                                     )      Case No. 1:09-cr-95
 vs.                                                 )
                                                     )      JUDGE COLLIER
 SUMMER TIDWELL                                      )

                                MEMORANDUM AND ORDER

        The defendant appeared for a hearing before the undersigned on April 15, 2013, in
 accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the Petition for
 Warrant for Offender Under Supervision (Petition) of U.S. Probation Officer Joey Byars and the
 Warrant for Arrest issued by U.S. District Judge Curtis L. Collier. Those present for the hearing
 included:

               (1) AUSA Terra Bay for the USA.
               (2) Defendant SUMMER TIDWELL.
               (3) Attorney Gianna Maio for defendant.
               (4) Deputy Clerk Kelli Jones.

         After being sworn in due form of law the defendant was informed or reminded of her
 privilege against self-incrimination accorded her under the 5th Amendment to the United States
 Constitution.

         It was determined the defendant wished to be represented by an attorney and she
 qualified for the appointment of an attorney to represent her at government expense. Federal
 Defender Services of Eastern Tennessee, Inc. was APPOINTED to represent the defendant. It
 was determined the defendant had been provided with a copy of the Petition and the Warrant for
 Arrest and had the opportunity of reviewing those documents with her attorney. It was also
 determined the defendant was capable of being able to read and understand the copy of the
 aforesaid documents she had been provided.

        Defendant waived her right to a preliminary hearing and detention hearing.

        AUSA Bay moved defendant be detained pending a hearing to determine whether her
 term of supervision should be revoked.

                                             Findings

        (1) Based upon U.S. Probation Officer Joey Byars’ petition and defendant=s
        waiver of preliminary hearing and detention hearing, the undersigned finds there
        is probable cause to believe defendant has committed violations of her conditions

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       of supervised release as alleged in the petition.

                                           Conclusions

       It is ORDERED:

       (1) The defendant shall appear in a revocation hearing before U.S. District
       Judge Curtis L. Collier.

       (2) The motion of AUSA Bay that defendant be DETAINED WITHOUT BAIL
       pending her revocation hearing before Judge Collier is GRANTED.

       (3) The U.S. Marshal shall transport defendant to a revocation hearing before
       Judge Collier on Thursday, May 23, 2013, at 9:00 am.

       ENTER.

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                                              UNITED STATES MAGISTRATE JUDGE




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